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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

BATAAN LICENSING LLC,                           )
                                                )
                      Plaintiff,                )
                                                )
       v.                                       )     C.A. No. 22-238 (GBW) (JLH)
                                                )
DENTALEZ, INC.,                                 )
                                                )
                      Defendant.                )

            DEFENDANT DENTALEZ, INC.’S RENEWED MOTION TO STAY

       Defendant DentalEZ, Inc. hereby moves, pursuant to the Court’s inherent authority to

manage its docket, to stay discovery and all other proceedings in this case pending resolution of

Defendant’s Rule 12(b)(6) Motion to Dismiss for Lack of Patent-Eligible Subject Matter (D.I. 14).

The grounds for this Motion are set forth in the opening brief submitted with this motion.

       Pursuant to D. Del. LR 7.1.1, counsel for Defendant states that counsel for the parties met

and conferred regarding this motion. Plaintiff Bataan Licensing LLC indicated that it would

oppose this motion.


                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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October 10, 2022
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2022, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

October 10, 2022, upon the following in the manner indicated:

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